                         UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

NETLIST, INC.,                                  )
                                                )
               Plaintiff,                       )
                                                )    Case No. 2:22-cv-293-JRG
       vs.                                      )
                                                )    JURY TRIAL DEMANDED
SAMSUNG ELECTRONICS CO, LTD;                    )    (Lead Case)
SAMSUNG ELECTRONICS AMERICA,                    )
INC.; SAMSUNG SEMICONDUCTOR                     )
INC.,                                           )
                                                )
               Defendants.                      )

NETLIST, INC.,                  )
                                )
          Plaintiff,            )
                                )
                                                     Case No. 2:22-cv-294-JRG
     vs.                        )
                                )
                                                     JURY TRIAL DEMANDED
MICRON TECHNOLOGY, INC.; MICRON )
SEMICONDUCTOR PRODUCTS, INC.; )
MICRON TECHNOLOGY TEXAS LLC, )
                                )
          Defendants.           )
                                )

   NOTICE OF COMPLIANCE REGARDING PLAINTIFF NETLIST’S P.R. 4-2
   PRELIMINARY CLAIM CONSTRUCTIONS AND EXTRINSIC EVIDENCE

       Plaintiff Netlist, Inc. (“Netlist”) hereby notifies the Court that on June 22, 2023, Netlist

complied with the Court’s Docket Control Order (Dkt. 66) by serving its P.R. 4-2 Preliminary

Claim Constructions and Extrinsic Evidence on counsel for Defendants via electronic mail.


Dated: June 23, 2023                                Respectfully submitted,

                                                    /s/ Jennifer L. Truelove

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                                                  Attorneys for Plaintiff Netlist, Inc.




                              CERTIFICATE OF SERVICE

       I hereby certify that, on June 23, 2023, I caused the electronic filing of the foregoing

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

counsel of record who are registered with the CM/ECF system.

                                                     /s/ Jennifer L. Truelove
                                                     Jennifer L. Truelove




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